Case 23-02011-CMB            Doc 62      Filed 08/25/23 Entered 08/25/23 15:46:01              Desc Main
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                      IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE WESTERN DISTRICT OF PENNSYLVANIA

In re:                                                        )
                                                              )      Bankruptcy 21-22031-CMB
Akshita Banerjee,                                             )
                                                              )
         Debtor in Possession.                                )
------------------------------------------------------------- )
                                                              )
Sadis & Goldberg, LLP,                                        )
                                                              )      Adversary No. 23-02011-CMB
                  Plaintiff,                                  )
                                                              )      Related Docket Nos. 42, 49
         v.                                                   )
                                                              )                    56
                                                                     Docket No.______________
Akshita Banerjee,                                             )
                                                              )
                  Defendant.                                  )


                                   PROPOSED ORDER OF COURT

                                   25thday of __________,
                                   24th
         AND NOW, to wit, on this ____          August 2023, after due consideration of the

foregoing Joint Motion for Entry of Protective Order, filed by Non-Party, Steven M. Cherin, and

Plaintiff, Sadis & Goldbert, LLP, it is hereby ORDERED, ADJUDGED, and DECREED said

Motion is hereby GRANTED. Any and all discovery produced by Non-Party Steven M. Cherin

during the course of this Action is subject to the Confidentiality Agreement attached to said

Motion.


                                                              ____________________________________
                  FILED                                       The Honorable Carlota M. Bohm,
                  8/25/23 2:19 pm                             U.S. District Judge for the Western District
                  CLERK                                       of Pennsylvania Bankruptcy Court
                  U.S. BANKRUPTCY
                  COURT - WDPA
